
In re Williams, Dwayne; — Plaintiff; applying for supervisory and/or remedial writs, Parish of Orleans, Criminal District Court, Div. J, Nos. 374-848; to the Court of Appeal, Fourth Circuit, No. 99-K-1859.
Writs granted in part. The district court is ordered to appoint counsel for relators and hold a hearing at which it will determine whether the state’s failure to disclose a police report which contained *647exculpatory impeachment material in the form of witnesses’ description of another person leaving the crime scene with a shotgun violated relators’ due process rights under Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963) and progeny. The district court is also ordered to determine whether counsel’s failure to present the exculpatory testimony of these witnesses denied relators the effective assistance of counsel. Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984); Lord v. Wood, 184 F.3d 1083, 1093 (9th Cir.1999).
MARCUS, J., not on panel.
